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                                   STATEMENT OF FACTS

        Your affiant, Andrea Coble, is a Special Agent with the FBI assigned to the Domestic
Terrorism Squad. In my duties as a special agent, I have investigated federal criminal violations
which are intended to intimidate or coerce a civilian population, influence the policy of a
government by intimidation or coercion, or affect the conduct of a government by mass
destruction, assassination, or kidnapping. Currently, I am tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a special agent, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

                      Background – The U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice



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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                            Facts Specific to Matthew Jay WEBLER

       Evidence that the User of “mattwebler79@gmail.com” Was Present Inside the
                         U.S. Capitol Building on January 6, 2021

        According to records obtained through a search warrant served on Google, a mobile device
associated with mattwebler79@gmail.com, Device ID 1696409822, username “Matthew Webler”,
with the recovery phone number xxx-xxx-3782 (x3782) 1, was present at or around the U.S. Capitol
on January 6, 2021. Google estimates device location using sources including GPS data and
information about nearby Wi-Fi access points and Bluetooth beacons. This location data varies in
its accuracy, depending on the source(s) of the data. As a result, Google assigns a “maps display
radius” for each location data point. Thus, where Google estimates that its location data is accurate
to within 10 meters, Google assigns a “maps display radius” of 10 meters to the location data point.
Finally, Google reports that its “maps display radius” reflects the actual location of the covered
device approximately 68% of the time. In this case, Google location data shows that a device
associated with mattwebler79@gmail.com was likely within the U.S. Capitol building located at
First St. SE, Washington, D.C. 20004. According to the location data provided by Google, this
device was likely in or around the U.S. Capitol building on January 6, 2021 from approximately
2:21 pm – 2:43 pm. The location data is consistent with a device path that might have entered the
Capitol Building on the west side, traveled to the center area of the building, and exited and Capitol
building on the east side:




1
  The full phone number is known to the affiant but omitted here due to the public nature of the
filing.
                                                  2
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        According to Google records, the account associated with mattwebler79@gmail.com is
registered to MATTHEW JAY WEBLER, phone number xxx-xxx-9655 in Decatur, Georgia 2 and
Recovery Phone Number x3782.

        Law enforcement database records show that the email address mattwebler79@gmail.com
is associated with Matthew Webler, date of birth January 6, xxxx. 3 Georgia driver’s license
records identify a Matthew Webler with the same date of birth. Vehicle registration records from
the state of Georgia show that Matthew Webler has vehicles registered to the same Decatur,
Georgia address identified in the Google records.

        Records from Navy Federal Credit Union show that customer Matthew Webler had
transactions at a gas station in Boiling Spring, South Carolina on January 5, 2021, followed by
additional gas station transactions in Durham and Roanoke Rapids, North Carolina, and Ashland,
Virginia on January 6, 2021. When plotted on a map, these locations correlate with a driving route

2
  The full phone number and address are known to the affiant but omitted here due to the public
nature of the filing.
3
  The full date of birth is known to the affiant but omitted here due to the public nature of the
filing.
                                                3
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along the Interstate 95 and Interstate 85 corridors running north and south between the Atlanta,
Georgia metropolitan area and the Washington, D.C. metropolitan area. Additionally, this route
corresponds with a post WEBLER made to Facebook, which stated “we’re leaving on the 5th @
8:30pm and arriving in DC around 9am.”

                Evidence from Facebook that WEBLER Was Present in the
                             U.S. Capitol on January 6, 2021

       On or about June 1, 2021, the FBI Atlanta Field Office conducted open source research on
WEBLER and identified Facebook account “matthew.webler.” A review of the public
“matthew.webler” account revealed posts related to January 6, 2021 events in Washington, D.C.
Records from Facebook confirm that the username “matthew.webler” is associated with subscriber
Matthew Webler and registered email address mattwebler79@gmail.com, which further
corresponds to records from Google which show that the device associated with
mattwebler79@gmail.com was likely in or around the U.S. Capitol building on January 6, 2021.

       On January 5, 2021, WEBLER made a Facebook post stating “DC here we come!”, as
depicted below:




       On January 6, 2021, WEBLER posted on Facebook a video. In the selfie-styled video, the
face of a person believed to be WEBLER is visible, and the individual describes entering the
Capitol building, and notes that Capitol Police stood there watching them. He states that he has
video from that day that shows what happened, and that when he left, it was peaceful. The
individual is believed to be WEBLER because the phone number, email address, and device ID
resolve to a single identity, Matthew Webler. In addition, during physical surveillance of


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WEBLER, a vehicle was seen leaving a property known to be used by WEBLER. The vehicle’s
tag was registered WEBLER (although the tag did not match the vehicle driven). The undersigned
has compared the driver of the vehicle, believed to be WEBLER, to the person in the Facebook
video and believes them to be the same person.

        In the Facebook video, the individual is wearing a distinctive hat with a folded brim, and
has a dark colored mustache and gray colored beard as depicted below:




        On April 28, 2021, WEBLER made a Facebook post stating “here’s some of my footage…I
got bored and had to ask one how to get out,” as depicted below, along with a video of the inside
of the Capitol during which chants of “USA, USA” can be heard. In the video, a person believed
to be WEBLER asks how to exit the building, and then exits the Capitol building and shouts
“1776.” A screenshot of the Facebook post, and two screenshots from the video are below:




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      Evidence from Closed Circuit Television (CCTV) Cameras that WEBLER Was
                     Present in the U.S. Capitol on January 6, 2021

       CCTV from inside the Senate Wing Door on the west side of the U.S. Capitol building on
January 6, 2021, captured video footage of individuals inside the Capitol. The three photos below
contain screenshots of footage from that video at or around 2:22 PM (19:22 UTC) in which an

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individual in a yellow jacket, hat with a folded brim and enters the U.S. Capitol through a broken
window next to the Senate Wing Door. Based on a comparison of the selfie-style video described
above that was posted to WEBLER’s Facebook page on January 6, 2021 which shows WEBLER’s
face, distinctive hat, and a dark colored mustache and gray colored beard, the view of WEBLER
during surveillance, and the individual captured on video by USCP CCTV, I believe that the
individual circled in red below to be WEBLER. WEBLER is seen wearing a yellow jacket and
what appears to be the same hat that he was wearing in his Facebook video post where he discussed
being in the Capitol on January 6, 2021. In the CCTV video, WEBLER is holding what appears to
be a cellular phone in his left hand. WEBLER is also wearing what appears to be a flag around his
neck that has the letter “Q” on it. Additionally, a video posted by WEBLER on Facebook of an
individual entering the Capitol through a window with broken glass next to the Senate Wing Door
appears to match the location and angle of the cellphone in the man captured on USCP CCTV, as
does the Google map discussed above that shows the mobile device associated with
mattwebler79@gmail.com possibly entering the west side of the U.S. Capitol sometime around or
after 2:20 PM.




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        A person believed to be WEBLER is also captured inside the Capitol in other USCP CCTV
near the Supreme Court Chamber Stairs at approximately 2:28 PM (19:28 UTC) as depicted below.
The individual circled in red and holding a cell phone in his left hand is believed to be WEBLER
because he is wearing the same distinctive hat and yellow jacket and has the same facial hair as
the man in the selfie-style video posted by WEBLER.




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        Additional CCTV from inside the Capitol building on January 6, 2021 captured video
footage of individuals inside the Capitol near the Memorial Door. The photos below contain
screenshots of footage at approximately 2:32 PM (19:32:37 UTC). Based on a comparison of the
selfie-style video posted to WEBLER’s Facebook page which shows WEBLER’s face, the
distinctive hat, yellow jacket, and facial hair and the individual captured on video by USCP CCTV,
and the view of WEBLER during surveillance, I believe that the individual circled in red is
WEBLER.




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        Additional CCTV from inside the Capitol building on January 6, 2021 captured video
footage of individuals exiting the Capitol on the east side through the Memorial Door. The photo
below contains a screenshot of footage from one such video at approximately 2:36 PM (19:36
UTC). Based on a comparison of the hat, jacket and flag with a “Q” of the individual in the video
with the clothing of the individual described above, I believe that the individual circled in red is
WEBLER. Additionally, cellphone video posted by WEBLER on Facebook of an individual
exiting the Capitol through the Memorial Door appears to match the location and angle of the
cellphone of the man captured on USCP CCTV, as does the Google map discussed above that
shows the mobile device associated with mattwebler79@gmail.com possibly exiting the east side
of the U.S. Capitol sometime around or before approximately 2:43 PM.




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      Additional Evidence from Facebook and Open Source Media that of WEBLER
                   Was Present in the U.S. Capitol on January 6, 2021

        Records obtained from Facebook along with WEBLER’s use of Google photos and videos
provide further evidence of WEBLER’s entrance into the Capitol on January 6, 2021, as exhibited
below. Specifically, WEBLER posted the statement on Facebook, “More from inside. Notice
police just chilling. Also proud of myself for not getting caught up to [sic] much and having the
sense to stand up to someone trying to vandalize the place. Missed the guy taking ‘souvenirs’
though…” Below the statement, WEBLER posted links to two URLs:




         When entered into Google, the URLs shared by WEBLER connect to publicly available
videos posted by a Google account named “Matthew Webler.” Per records from Google the name
“Matthew Webler” is associated with mattwebler79@gmail.com, phone number x3782, and the
Decatur, Georgia address associated with WEBLER’s driver’s license records. The videos appear
to be first-person cell phone videos that capture the grounds and inside the U.S. Capitol on January
6, 2021. A male voice can be heard in the videos repeatedly stating, “it’s my birthday” and “this
is the best birthday ever. It’s my birthday, and it’s the best one ever.” As stated above, WEBLER’s
birthday is January 6. In one of the videos, a distinctive hat brim is briefly visible in this footage,
as well as the bottom portion of yellow jacket, dark colored pants, and work boots. These items of
clothing appear to match the clothing worn by the man captured in USCP CCTV footage described
above. The hat also matches the selfie-style video that WEBLER posted to Facebook, in which
he admits to being inside the U.S. Capitol.




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                                             Charges

        Based on the foregoing, your affiant submits that there is probable cause to believe that
MATTHEW JAY WEBLER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.


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        Your affiant submits there is also probable cause to believe that MATTHEW JAY
WEBLER violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.




                                                                 ANDREA COBLE, FBI


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this _____
                 24 day of November, 2021.           G. Michael             Digitally signed by G. Michael
                                                                           Harvey

                                                         Harvey            Date: 2021.11.24 09:22:47
                                                         ___________________________________
                                                                           -05'00'
                                                         G. MICHAEL HARVEY
                                                         U.S. MAGISTRATE JUDGE




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